Case 8:20-bk-08937-MGW Doc1 Filed 12/07/20 Page 1 of 42

Fill in this information to identify your case:

 

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF FLORIDA FILE D Vi A MAIL

Case number (if known) Chapter you are filing under:

Ol Chapter 7 - pec o7 2020

C1 Chapter 11

 

 

Clerk. U.S. Bankruptcy Court
0 Chapter 12 Middie District of Florida
Wi Chapter 13 Cl Chacki&tiisiiseam

amended filing

 

 

of

 

Ac 08 a

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 04/20

 

The bankruptcy forms use you and Debtor 7 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 7 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 7 and the other as Debtor 2. The same person must be Debtor 7 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If

more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.

Identify Yourself

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):
1. Your full name

Write the name that is on ROY

 

 

 

 

 

 

your government-issued =“ First name First name
picture identification (for
example, your driver's D.
license or passport). Middle name Middle name
Bring your picture
identification to your MARSHALL -
Last name and Suffix (Sr., Jr., Il, II) Last name and Suffix (Sr., Jr., ll, IN)

meeting with the trustee.

 

2. Allother names you have
used in the last 8 years

Include your married or
maiden names.

 

3. Only the last 4 digits of
your Social Security
number or federal XOOK-XX- 2669
Individual Taxpayer
Identification number
(ITIN)

 

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy ~ page 1
Case 8:20-bk-08937-MGW Doc1 Filed 12/07/20 Page 2 of 42

Debior 1

ROY D. MARSHALL

 

4. Any business names and
Employer Identification
Numbers (EIN) you have
used in the last 8 years

Include trade names and
doing business as names

About Debtor 1:

i | have not used any business name or EINs.

 

Business name(s}

Case number (if known}

 

About Debtor 2 (Spouse Only in a Joint Case):

[J | have not used any business name or EINs.

 

 

EIN

Business name(s)

 

EIN

 

5. Where you live

1109 Terra Mar Dr.
Tampa, FL 33613

 

Number, Street, City, State & ZIP Code

Hillsborough

If Debtor 2 lives at a different address:

 

 

County

If your mailing address is different from the one
above, fill it in here. Note that the court will send any
notices to you at this mailing address.

Number, Street, City, State & ZIP Code

 

 

Number, P.C. Box, Street, City, State & ZIP Code

County

If Debtor 2's mailing address is different from yours, fill it
in here. Note that the court will send any notices to this
mailing address.

 

Number, P.O. Box, Street, City, State & ZIP Code

 

 

 

 

6. Why you are choosing Check one: Check one:
this district to file for
bankruptcy M Over the last 180 days before filing this petition, C1 Over the last 180 days before filing this petition, |
| have lived in this district tonger than in any have lived in this district longer than in any other
other district. district.
( __s|have another reason. [] | have another reason.
Explain. (See 28 U.S.C. § 1408.) Explain. (See 28 U.S.C. § 1408.)
Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 2
Debtor 1

Case 8:20-bk-08937-MGW Doc1 Filed 12/07/20 Page 3 of 42

ROY D. MARSHALL Case number (if known}

 

 

Tell the Court About Your Bankruptcy Case

 

 

 

 

 

 

 

 

7. The chapter of the Check one. (For a brief description of each, see Notice Required by 17 U.S.C. § 342(b) for individuals Filing for Bankruptcy
Bankruptcy Code you are (Form 2070)). Also, go to the top of page 1 and check the appropriate box.
choosing to file under O Chapter 7

C Chapter 14

OC Chapter 12

HM Chapter 13

8. How youwill pay the fee ) — | will pay the entire fee when | file my petition. Please check with the clerk's office in your local court for more details
about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's check, or money
order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
a pre-printed address.

sé need to pay the fee in installments. If you choose this option, sign and attach the Application for individuals to Pay
The Filing Fee in Instaifments (Official Form 103A).

OO _si[ request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
the Application to Have the Chapter 7 Filing Fee Waived (Official Form 1038) and file it with your petition.

9. Have you filed for BNo

bankruptcy within the ,
last 8 years? Cl Yes.
District When Case number
District When Case number
District When Case number
10. Are any bankruptcy MINo
cases pending or being
filed by aspouse whois [1 Yes.
not filing this case with
you, or by a business
partner, or by an
affiliate?
Debtor Relationship to you
District When Case number, if known
Debtor Relationship to you
District When Case number, if known
11. Do you rent your No. Go to line 12.

residence?

CO Yes. Has your landlord obtained an eviction judgment against you?
q No. Ge to line 12.

oOo Yes. Fill out initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
this bankruptcy petition.

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy page 3

 
Case 8:20-bk-08937-MGW Doc1 Filed 12/07/20 Page 4 of 42

Debtor1 ROY D. MARSHALL Case number (if known)

 

 

Gene Report About Any Businesses You Own as a Sole Proprietor

 

12. Are you a sole proprietor
of any full- or part-time
business?

Asole proprietorship is a
business you operate as
an individual, and is not a
separate legal entity such
as a corporation,
partnership, or LLC.

lf you have more than one
sole proprietorship, use a

separate sheet and attach
it to this petition.

HE No. Go to Part 4.

O ves. Name and location of business

 

Name of business, if any

 

Number, Street, City, State & ZIP Code

Check the appropriate box to describe your business:
Health Care Business (as defined in 11 U.S.C. § 101(27A))

Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B)}
Stockbroker (as defined in 11 U.S.C. § 101(63A))

Commodity Broker (as defined in 11 U.S.C. § 101(6))

None of the above

OooOoouod

 

13. Are you filing under
Chapter 11 of the
Bankruptcy Code, and
are you a smail business
debtor or a debtor as
defined by 11 U.S.C. §
1182(1}?

For a definition of small
business debtor, see 11
U.S.C. § 101(51D).

If you are filing under Chapter 11, the court must Know whether you are a small business debtor or a debtor choosing to
proceed under Subchapter V so that it can set appropriate deadlines. \f you indicate that you are a small business debtor or
you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement of operations,
cash-flow statement, and federa! income tax return or if any of these documents do not exist, follow the procedure in 11 U.S.C.
§ 1116(1)(B).

No. 1am not filing under Chapter 11.
EI No. 1am filing under Chapter 11, but | am NOT a small business debtor according to the definition in the Bankruptcy
Code.
0 Yes. bam filing under Chapter 11, | am a small business debtor according to the definition in the Bankruptcy Code, and

I do not choose to proceed under Subchapter V of Chapter 11.

CJ Yes. Lam filing under Chapter 11, | am a debtor according to the definition in § 1182(1) of the Bankruptcy Code, and I
choose to proceed under Subchapter V of Chapter 11.

FE Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

 

14. Do you own or have any
property that poses or is
alleged to pose a threat
of imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?

For example, do you own
perishable goods, or
livestock that must be fed,
or @ building that needs
urgent repairs?

WNo.

CO Yes.
What is the hazard?

 

lf immediate attention is
needed, why is it needed?

 

Where is the property?

 

Number, Street, City, State & Zip Code

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy page 4

 
Case 8:20-bk-08937-MGW Doc1 Filed 12/07/20 Page 5 of 42

Debtor 1

ROY D. MARSHALL

 

Explain Your Efforts to Receive a Briefing About Credit Counseling

Case number (if known)

 

 

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about
credit counseling before
you file for bankruptcy.
You must truthfully check
one of the following
choices. If you cannot do
$o, you are not eligible to
file,

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your
creditors can begin
collection activities again.

About Debtor 1:
You must check one:

| received a briefing from an approved credit oO
counseling agency within the 180 days before |

filed this bankruptcy petition, and | received a

certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

| received a briefing from an approved credit Oo
counseling agency within the 180 days before |

filed this bankruptcy petition, but 1 do not have

a certificate of completion.

Within 14 days after you file this bankruptcy
petition, you MUST file a copy of the certificate and
payment pian, if any.

| certify that | asked for credit counseling O
services from an approved agency, but was

unable to obtain those services during the 7

days after | made my request, and exigent
circumstances merit a 30-day temporary waiver

of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

if the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted

only for cause and is limited to a maximum of 15

days.

lam not required to receive a briefing about O
credit counseling because of:

QO _siIncapacity.
{ have a mental illness or a mental deficiency
that makes me incapable of realizing or
making rational decisions about finances.

(0 _ Disability.
My physical disability causes me to be
unable to participate in a briefing in person,
by phone, or through the internet, even after |
reasonably tried to do so.

Active duty.
| am currently on active military duty in a
military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver credit counseling with the court.

About Debtor 2 (Spouse Only in a Joint Case):
You must check one:

| received a briefing from an approved credit
counseling agency within the 180 days before | filed
this bankruptcy petition, and | received a certificate of
completion.

Attach a copy of the certificate and the payment plan, if
any, that you developed with the agency.

| received a briefing from an approved credit
counseling agency within the 180 days before | filed
this bankruptcy petition, but | do not have a certificate
of completion.

Within 14 days after you file this bankruptcy petition, you
MUST file a copy of the certificate and payment plan, if
any.

| certify that | asked for credit counseling services
from an approved agency, but was unable to obtain
those services during the 7 days after | made my
request, and exigent circumstances merit a 30-day
temporary waiver of the requirement.

To ask for a 30-day temporary waiver of the requirement,
attach a separate sheet explaining what efforts you made
to obtain the briefing, why you were unable to obtain it
before you filed for bankruptcy, and what exigent
circumstances required you to file this case.

Your case may be dismissed if the court is dissatisfied
with your reasons for not receiving a briefing before you
filed for bankruptcy.

if the court is satisfied with your reasons, you must still
feceive a briefing within 30 days after you file. You must
file a certificate from the approved agency, along with a
copy of the payment plan you developed, if any. If you do
not do so, your case may be dismissed.

Any extension of the 30-day deadline is granted only for
cause and is limited to a maximum of 15 days.

lam not required to receive a briefing about credit
counseling because of.

(J _=sIncapacity.
| have a mental illness or a mental deficiency that
makes me incapable of realizing or making rational
decisions about finances.

CO] _éDisability.
My physical disability causes me to be unable to
participate in a briefing in person, by phone, or
through the internet, even after | reasonably tried to
do so.

C] Active duty.
| am currently on active military duty in a military
combat zone.

If you believe you are not required to receive a briefing
about credit counseling, you must file a motion for waiver
of credit counseling with the court.

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

page 5
 

Case 8:20-bk-08937-MGW Doc1 Filed 12/07/20 Page 6 of 42

Debtor 1

ROY D. MARSHALL

Case number (if known)

 

 

Answer These Questions for Reporting Purposes

16. What kind of debts do
you have?

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
individual primarily for a personal, family, or household purpose.”

C1 No. Go to line 16b.

WI Yes. Go to fine 17.

16b, Are your debts primarily business debts? Business debits are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

C1 No. Go to line 16c.
C1 Yes. Go to line 17.
16c. State the type of debts you owe that are not consumer debts or business debts

 

 

17. Are you filing under
Chapter 7?

Do you estimate that
after any exempt
property is excluded and

HNo, | amnot filing under Chapter 7. Go to line 18.

OlyYes. |am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
are paid that funds will be available to distribute to unsecured creditors?

 

 

administrative expenses ONWo
are paid that funds will
be available for 0 Yes
distribution to unsecured
creditors?
18. How many Creditorsdo i 449 1 1,000-5,000 1) 25,001-50,000
you estimate thatyou =F 50.99 1 5001-10,000 CJ 50,001-100,000
C1 100-199 C1 10,001-25,000 CJ More than100,000
C1] 200-999
19. How much do you BB so - $50,000 C1 $1,000,001 - $10 million 1D $500,000,001 - $1 billion

estimate your assets to
be worth?

DZ $50,001 - $100,000
C1 $100,001 - $500,000
C1 $500,001 - $1 million

CJ $10,000,001 - $50 million
CJ $50,000,001 - $100 million
1 $100,000,001 - $500 million

C] $1,000,000,001 - $10 billion
1 $10,000,000,001 - $50 billion
D2 More than $50 billion

 

20. How much do you
estimate your liabilities
to be?

T) $0 - $50,000

C] $50,001 - $100,000
RM $100,001 - $500,000
CJ $500,001 - $1 million

C3 $1,000,001 - $10 million

C1] $10,000,001 - $50 million
(J $50,000,001 - $100 million
C) $100,000,001 - $500 million

C1 $500,000,001 - $1 billion

1 $1,000,000,001 - $10 billion
C1 $40,000,000,001 - $50 billion
C] More than $50 billion

 

[life Sign Below

For you

| have examined this petition, and | declare under penalty of perjury that the information provided is true and correct.

If ! have chosen to file under Chapter 7, | am aware that [| may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
United States Code. | understand the relief available under each chapter, and | choose to proceed under Chapter 7.

If no attorney represents me and | did not pay or agree to pay someone who is not an attorney to heip me fill out this
document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

lunderstand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines ug to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,

ny 3571.
ay ahs ~ Unreph
ROY DU MARSHALL
Signature of Debtor 1

Signature of Debtor 2

Executed on December 7, 2020 Executed on

MM /DD/YYYY

 

 

MM /DD/YYYY

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy page 6

 
Case 8:20-bk-08937-MGW Doc1 Filed 12/07/20 Page 7 of 42

 

 

 

Debtor’ ROY D. MARSHALL Case number (if known)
For your attorney, if you are |, the attorney for the debtor(s} named in this petition, declare that | have informed the debtor(s) about eligibility to proceed
represented by one under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter

for which the person is eligible. | also certify that | have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
{f you are not represented by — and, in a case in which § 707(b)(4)(D) applies, certify that | have no knowledge after an inquiry that the information in the
an attorney, you do not need — schedules filed with the petition is incorrect.
to file this page.
Date December 7, 2020
Signature of Attorney for Debtor MM /00D / YYYY

 

 

Printed name

 

Firm name

 

Number, Street, City, State & ZIP Code

Contact phone Email address

 

 

 

Bar number & State

 

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 7
Case 8:20-bk-08937-MGW Doc1 Filed 12/07/20 Page 8 of 42

Debtor1 ROY D. MARSHALL Case number (if known)

 

 

 

For you if you are filing this The law allows you, as an individual, to represent yourself in bankruptcy court, but you should understand that many
bankruptcy without an people find it extremely difficult to represent themselves successfully. Because bankruptcy has long-term
attorney financial and legal consequences, you are strongly urged to hire a qualified attorney.

If you are represented by an To be successful, you must correctly file and handle your bankruptcy case. The rules are very technical, and a mistake or

attorney, you do not need to _ inaction may affect your rights. For example, your case may be dismissed because you did not file a required document,

file this page. pay a fee on time, attend a meeting or hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy
administrator, or audit firm if your case is selected for audit. If that happens, you could lose your right to file another case,
or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the court. Even if you plan to pay
a particular debt outside of your bankruptcy, you must list that debt in your schedules. If you do not list a debt, the debt may
not be discharged. If you do not list property or properly claim it as exempt, you may not be able to keep the property. The
judge can also deny you a discharge of all your debts if you do something dishonest in your bankruptcy case, such as
destroying or hiding property, falsifying records, or lying. Individual bankruptcy cases are randomly audited to determine if
debtors have been accurate, truthful, and complete. Bankruptcy fraud is a serious crime; you could be fined and
imprisoned.

If you decide to file without an attorney, the court expects you to follow the rules as if you had hired an attorney. The court
will not treat you differently because you are filing for yourself. To be successful, you must be familiar with the United
States Bankruptcy Code, the Federal Rules of Bankruptcy Procedure, and the local rules of the court in which your case is
filed. You must also be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal consequences?
CNo

@ Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are inaccurate or incomplete, you
could be fined or imprisoned?

0 No

Mi ves

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
CNo

Yes Name of Person Carlos Frontela

 

Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).

By signing here, | acknowledge that | understand the risks involved in filing without an attorney. | have read and understood
this notice, and | am aware that filing a bankruptcy case without an attorney may cause me to lose my rights or property if 1 do

roperly handle the case.
op ae, Acne)

 

 

 

 

 

 

 

ROY 3: MARSHALL Signature of Debtor 2
Signature of Debtor 1
Date December 7, 2020 Date

MM /DD/YYYY MM /DD/YYYY
Contact phone Contact phone
Cell phone 937-305-1113 Gell phone
Email address Email address

 

 

 

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 8
Case 8:20-bk-08937-MGW Doc1 Filed 12/07/20 Page 9 of 42

Fill in this information to identify your case:

Debtor 1 ROY D. MARSHALL

First Name Middle Name Last Name

 

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court forthe: MIDDLE DISTRICT OF FLORIDA

 

Case number
(if known) 1 Check if this is an

amended filing

 

 

 

Official Form 106Sum

Summary of Your Assets and Liabilities and Certain Statistical Information 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 

Summarize Your Assets

Your assets.
Value of what-you own

1. Schedule A/B: Property (Official Form 106A/B)

ta. Copy line 55, Total real estate, from Schedule AB... ecsecceneceeceeesteneeneceeesuesevanseaenetensctereesteeneseseeresease $ 0.00
1b. Copy line 62, Total personal property, from Schedule A/B.o... eee ec ceeecneee cee ee rece caeneeeeeneceteeaseneesseeenerstanaees $ 7,700.00
1c. Copy line 63, Total of all property on Schedule AVB. o.oo ec nent ete ens cenceneeree ee cdeeeeenCastuasereeercdncatennies $ 7,700.00

Summarize Your Liabilities

Your liabilities
Amount: you owe

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Farm 106D)

 

 

 

 

 

2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D... $ 0.00
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)

3a, Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule EFF.........0.ccccccceeeeees $ 0.00

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 8j of Schedule E/F.........cccecccssees $ 139,164.00

Your total liabilities | $ 139,164.00
GEREE Summarize Your Income and Expenses

4. Schedule |: Your Income (Official Form 106)

Copy your combined monthly income from line 12 of Schedule baw... cccccccscccsccccessceccnsecsecssenecseeceasstesesnassseseersenscesseas $ 10,833.33
5. Schedule J: Your Expenses (Official Form 106J)

Capy your monthly expenses from line 226 of Schedule Loo... cece cece cccceeatenesacerevsssesseetessanecarcenseesensaes $ 7,540.00

GERZHM Answer These Questions for Administrative and Statistical Records

 

6. Are you filing for bankruptcy under Chapters 7, 11, or 137
[] No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

BR Yes
7. What kind of debt do you have?

W@W Your debts are primarily consumer debts. Consumer debits are those “incurred by an individual primarily for a personal, family, or
household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
the court with your other schedules.
Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2

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Case 8:20-bk-08937-MGW Doc1 Filed 12/07/20 Page 10 of 42

Debtor1 ROY D. MARSHALL Case number (if known)

 

 

8. From the Statement of Your Current Monthly income: Copy your total current monthly income from Official Form
122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14. $ 0.00

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

 

 

 

 

Total claim
From Part 4 on Schedule E/F, copy the following:
9a. Domestic support obligations (Copy line 6a.) $ 0.00
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $ 0.00
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $ 0.00
9d. Student loans. (Copy line 6f.) $ 0.00
9e, Obligations arising out of a separation agreement or divorce that you did not report as
priority claims, (Copy line 6g.) $ «0.00
$f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +$ 0.00
9g. Total. Add lines 9a through 9f. $ 0.00
Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2 of 2

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Case 8:20-bk-08937-MGW Doc1 Filed 12/07/20 Page 11 of 42

Fill in this information to identify your case and this filing:

Debtor 1 ROY D. MARSHALL

First Name Middle Name Last Name

Debtor 2
(Spouse, ff filing) First Name Middle Name Last Name

 

United States Bankruptcy Court forthe: MIDDLE DISTRICT OF FLORIDA

 

Case number 1 Check if this is an
amended filing

 

 

Official Form 106A/B
Schedule A/B: Property 12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think It fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach a separate sheet to this form, On the top of any additional pages, write your name and case number (if known).
Answer every question.

 

Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an interest In

 

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

HE No. Go to Part 2.
(CJ ves. Where is the property?

Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

 

 

[J No
@ yes
: Do not deduct secured claims or exemptions. Put
3.1. Make: Ford Who has an Interest in the property? Check one the amount of any secured claims on Schedule D:
Model. F-150  pebter 4 only Creditors Who Have Claims Secured by Property.
Yer; 2011 0. Dee torr 2 onty Current value of the Current value of the
Approximate mileage: Cc) Debtor 1 and Debtor 2 only entire property? portion you own?
Other information: CJ at least one of the debtors and another
Location: 1109 Terra Mar Dr.,
Tampa FL 33613 Cl check if this is community property $5,000.00 $5,000.00
(see instructions)

 

 

 

 

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

No
1 Yes

 

5 Add the dollar value of the portion you own for all of your entries from Part 2, » Including any entries for

pages you have attached for Part 2. Write that number here...........--..0-sscneessseeesseneeeeent ve => $5,000.00

 

 

 

 

Describe Your Personal and Household Items

Do you own or have any legal or equitable interest in any of the following items? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

 

Official Form 106A/8 Schedule A/B: Property page 1
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Case 8:20-bk-08937-MGW Doc1 Filed 12/07/20 Page 12 of 42 .

Debtor 1 ROY D. MARSHALL Case number (if known)

6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware

C] No
WI yes. Describe...

 

Size Bed
Location: 1109 Terra Mar Dr., Tampa FL 33613 $1,000.00

 

 

 

 

7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
including cell phones, cameras, media players, games

HENo

|

HP Computer, Apple liphone, Sofa, 50 in. TV - Sharp, Pet, and King

|

|

(Yes. Describe..... |

8. Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections; |
other collections, memorabilia, collectibles
|
;
|

Mi No
Cl Yes. Describe.....

-9. Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; cances and kayaks; carpentry tools;
musical instruments

HNo
O Yes. Describe.....

10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment

MNo
O Yes. Describe.....

 

 

 

 

 

11, Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
ONo
Yes. Describe.....
Everyday clothes
Location: 1109 Terra Mar Dr., Tampa FL 33613 $500.00
12. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
Bi No

0 Yes. Describe.....

13. Non-farm animals
Examples: Dogs, cats, birds, horses

HNo
Cl Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
HNo
C1 Yes. Give specific information.....

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
for Part 3. Write that number here .. seeneseannsenseasine $1,500.00

 

 

 

 

Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following? Current value of the
portion you own?
Do not deduct secured

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Case 8:20-bk-08937-MGW Doc1 Filed 12/07/20 Page 13 of 42

Debtor 1 ROY D. MARSHALL Case number (if known)

 

claims or exemptions.

16. Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

[C1 No

Cash
Location:
1109 Terra
Mar Dr.,

Tampa FL
33613 $1,200.00

 

17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
institutions. If you have multiple accounts with the same institution, list each.

OD Yes Institution name:

18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

WNo
O Yes Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
joint venture

Bi No

C2 Yes. Give specific information about them...................
Name of entity: % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

Hi No
O Yes. Give specific information about them
Issuer name:

21. Retirement or pension accounts
Examples: interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

Bno

C1 Yes. List each account separately.
Type of account: Institution name:

22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), tetecommunications companies, or others

HnNo
DI YeS. veces Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
Bno
CI Yes.....0....... Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1),

MNo
Olves......... Institution name and description. Separately file the records of any interests.11 U.S.C. § 521 (c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1}, and rights or powers exercisable for your benefit
Mi No
Cl Yes. Give specific information about them...

Official Form 106A/B Schedule A/B: Property page 3
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Case 8:20-bk-08937-MGW Doc1 Filed 12/07/20 Page 14 of 42

Debtor 1 ROY D. MARSHALL Case number (if known)

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

MNo
0 Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

MI No

Cl Yes. Give specific information about them...

Money or property owed to you? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

28. Tax refunds owed to you
Hi No
C] Yes. Give specific information about them, including whether you already filed the returns and the tax years.......

29. Family support
Examples: Past due or jump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

MNo
C1 Yes. Give specific information...

30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
benefits; unpaid loans you made to someone else

HI No
0 Yes, Give specific information..

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

BNno

CJ Yes. Name the insurance company of each policy and list its value.
Company name: Beneficiary: Surrender or refund
value:

32. Any interest in property that is due you from someone who has died
If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
someone has died.

BNo

D Yes. Give specific information.

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

Mi No

D1 Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
BH No
D Yes. Describe each claim.........

35. Any financial assets you did not already list
BNo

Cl Yes. Give specific information.

 

36. Add the dollar value of all of your entries from Part 4, including any entries for Rages you have attached
for Part 4. Write that number here... dene eeenneaneeneaseneee see eaeanaseonenneeeserseaeeeneenenscraeastenneenaesees $1,200.00

 

 

 

Describe Any Business-Related Property You Own or Have an interest In. List any real estate in Part 1.

 

Official Form 106A/B Schedule A/B: Property page 4
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Case 8:20-bk-08937-MGW Doc1 Filed 12/07/20 Page 15 of 42

Debtor 1 ROY D. MARSHALL Case number (if known)

37.

 

Do you own or have any legal or equitable interest in any business-related property?

WR No. Go to Part 6.
C1 Yes. Go to line 38.

If you own or have an interest in farmland, fist it in Part 1.

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.

46.

 

Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
BB No. Go to Part 7.
Cl Yes. Go to tine 47.

 

Describe All Property You Own or Have an Interest in That You Did Not List Above

53.

Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

Bi No
OD Yes. Give specific information.........

 

 

 

 

 

 

 

 

 

 

54. Add the dollar value of all of your entries from Part 7. Write that number here .......ccssscssccsssseseseescens $0.00
List the Totals of Each Part of this Form

55. Part 1: Total real estate, Jine 2 ............. saenecedesenutuasauueseoeavaneneneessvesaeunasenasatonaes $0.00

56. Part 2: Total vehicles, line 5 $5,000.00

57. Part 3: Total personal and household items, line 15 $1,500.00

58. Part 4: Total financial assets, line 36 $1,200.00

59. Part 5: Total business-related property, line 45 $0.00

60. Part 6: Total farm- and fishing-related property, line 52 $0.00

61. Part 7: Total other property not listed, line 54 + $0.00

62. Total personal property. Add lines 56 through 61... $7,700.00 Copy personal property total $7,700.00

63. Total of all property on Schedule A/B. Add line 55 + line 62 $7,700.00
Official Form 106A/B Schedule A/B: Property page 5

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Best Case Bankruptcy
 

Case 8:20-bk-08937-MGW Doc1 Filed 12/07/20 Page 16 of 42

Fill in this information to identify your case:
Debtor 1 ROY D. MARSHALL
First Name Middie Name Last Name

Debtor 2
{Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court forthe: MIDDLE DISTRICT OF FLORIDA

 

Case number
(if known) [] Check if this is an

amended filing

 

 

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 4g

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for hea{th aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

Identify the Property You Claim as Exempt
1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
HB You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
C1] You are claiming federal exemptions. 11 U.S.C. § §22(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 

 

 

 

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption
Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption.
Schedule A/B
2011 Ford F-150 Fla. Stat. Ann. § 222.25(1)
5,000.00 1,000.00
Location: 1109 Terra Mar Dr., Tampa ____$5,000.00_ = ______ $1,000.00
FL 33613 C 400% of fair market value, up to
Line from Schedule A/B: 3.1 any applicable statutory limit
HP Computer, Apple liphone, Sofa, 4.000.00 0.090 Fila. Stat. Ann. § 222.25(4)
50 in. TV - Sharp, Pet, and King Size $1,000.00 7 80.00
Bed Cl 400% of fair market value, up to
Location: 1109 Terra Mar Dr., Tampa any applicable statutory limit
FL 33613
Line from Schedule A/B: 6.4
Everyday clothes 500.00 _—«*~Fila. Stat. Ann. § 222.25(4)
Location: 1109 Terra Mar Dr., Tampa _____.$500.00 2 $500.00
FL 33613 OC 100% of fair market value, up to
Line from Schedule A/B: 11.1 any applicable statutory limit
Cash Fla. Stat. Ann. § 222.25(4)
1,200.00 1,200.00
Location: 1109 Terra Mar Dr., Tampa __ $1,200.00 # $4,200.00
FL 33613 CF 100% of fair market value, up to
Line from Schedule A/B: 16.1 any applicable statutory limit
Official Form 106C Schedule C: The Property You Claim as Exempt page 1 of 2

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Case 8:20-bk-08937-MGW Doc1 Filed 12/07/20 Page 17 of 42

Debtor1 ROY D. MARSHALL

Case number (if known)

 

3. Are you claiming a homestead exemption of more than $170,350?
(Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

BM No

C] Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
O No
Ol Yes

Official Form 106C Schedule C: The Property You Claim as Exempt

page 2 of 2
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Best Case Bankruptcy
Case 8:20-bk-08937-MGW Doc1 Filed 12/07/20 Page 18 of 42

Fill in this information to identify your case:

Debtor 1 ROY D. MARSHALL

First Name Middle Name Last Name

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court forthe: MIDDLE DISTRICT OF FLORIDA

 

Case number
(if known)

 

OO Check if this is an
amended filing

 

 

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct Information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach It to this form. On the top of any additional pages, write your name and case
number {if known).

1. Do any creditors have claims secured by your property?

I No. Check this box and submit this form to the court with your other schedules. You have nothing else to report an this form.
C1 Yes. Fill in all of the information below.

Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1 of 1

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Case 8:20-bk-08937-MGW Doc1 Filed 12/07/20 Page 19 of 42

Fill in this information to identify your case:

ROY D. MARSHALL

First Name

Debtor 1

 

Middle Name Last Name

Debtor 2
{Spouse if, filing)

 

First Name Middle Name Last Name

MIDDLE DISTRICT OF FLORIDA

United States Bankruptcy Court for the:

 

Case number
(if known)

 

[] Check if this is an
amended filing

 

 

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries In the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).

le List All of Your PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims against you?
MI No. Go to Part 2.
Dyes.

 

List All of Your NONPRIORITY Unsecured Claims

3. Oo any creditors have nonpriority unsecured claims against you?

No. You have nothing to report in this part. Submit this form to the court with your other schedules.
Wi Yes.

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
than one creditor holds a particular claim, list the other creditors in Part 3.lf you have more than three nonpriority unsecured claims fill out the Continuation Page of
Part 2.

Total claim

ARS Account Resolution

Nonpriority Creditor’s Name

1643 NW 136th Avenue
Suite 100

Fort Lauderdale, FL 33323

Last 4 digits of account number $1,665.00

 

When was the debt Incurred?

 

 

Number Street City State Zip Code
Who incurred the debt? Check one.

Wl pebior 1 only

C1 Debtor 2 only

2 Debtor 4 and Debtor 2 only

1 Atleast one of the debtors and another

CD Check if this claim is fora community
debt
Is the claim subject to offset?

Hino
OD yes

As of the date you fite, the claim is: Check all that apply

CJ Contingent
CO unliquidated

oj Disputed
Type of NONPRIORITY unsecured claim:

(3 student loans

oO Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

0 Debts to pension or profit-sharing plans, and other similar debts

WI other. Specity Collection Account

 

 

Official Form 106 E/F
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Schedule E/F: Creditors Who Have Unsecured Claims

Page 1 of 8

49756 Bast Case Bankruptcy
Case 8:20-bk-08937-MGW Doc1 Filed 12/07/20 Page 20 of 42

Debtor1 ROY D, MARSHALL

[42 |

Case number (if known)

 

CCS Collections
Nonpriority Creditors Name

725 Canton Street
Norwood, MA 02062

 

Number Street City State Zip Code

Who incurred the debt? Check one.

WF Debtor + only

C1 Debtor 2 only

CI Debtor 1 and Debtor 2 only

ED At least one of the debtors and another

C1 check if this clalm Is for a_ community
debt

Is the claim subject to offset?

 

Last 4 digits of account number $1,359.00

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply

D1 contingent
D1 unliquidated

C1 disputed
Type of NONPRIORITY unsecured claim:

O student loans

| Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

 

 

 

 

 

 

 

 

 

 

 

 

No D Debts to pension or profit-sharing plans, and other similar debts
O yes @ other. Specify Collection Account
| 4.3 CCS Collections Last 4 digits of account number $100.00
Nonpriority Creditor’'s Name
725 Canton Street When was the debt incurred?
Norwood, MA 02062
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
MM Debtor 1 only Oo Contingent
C pentor 2 only O Unliquidated
CJ Debtor 1 and Debtor 2 only O Disputed
DO At teast one of the debtors and another Type of NONPRIORITY unsecured claim:
CO check if this claim is for a community C student toans
debt CZ obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
no C] Debts to pension or profit-sharing plans, and other similar debts
NCB Management Services
= _ 1 Allied Drive
C1 Yes Other. Speciy Feasterville Trevose PA 19053-0000
| 44 Choice Recovery Last 4 digits of account number $523.00
Nonpriority Creditor's Name
P.O. Box 20790 When was the debt incurred?
Columbus, OH 43220
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
Hl bebtor 1 only 0 contingent
01 pebier 2 only QO Untiquidated
C Debtor 1 and Debtor 2 only CU pisputed
C1 atieast one of the debtors and another Type of NONPRIORITY unsecured claim:
CO) Check if this claim is for a community C1 student loans
debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino CO Debts to pension or profit-sharing plans, and other similar debts
C1 ves other. Specify Collection Account
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 2 of 8

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Best Case Bankruptcy
Debtar 4

 

Case 8:20-bk-08937-MGW Doc1 Filed 12/07/20 Page 21 of 42

ROY D. MARSHALL

Commonwealth Financial
Nonpriority Creditor's Name

245 Main Street

Scranton, PA 18519
Number Street City State Zip Code

Who incurred the debt? Check one.

a Debtor 1 only

C1 Debtor 2 only

C1 Debtor 1 and Debtor 2 only

(2) At least one of the debtors and arnginer

C1 check if this clalm is fora community
debt
Is the claim subject to offset?

Bno
CO ves

Commonwealth Financial

Nonpriority Creditors Name
245 Main Street

Scranton, PA 18519_
Number Street City State Zip Code

Who incurred the debt? Check one.

ME bebior 1 only

D Debtor 2 only

C1 Debtor 1 and Debtor 2 only

D1 At least one of the debtors and ariother

C1 Check if this claim is fora community
debt
Is the claim subject to offset?

Case number (if known)

Last 4 digits of account number $16,470.00

when was the debt incurred?

As of the date you file, the clalm is: Check all that apply

co Contingent

CU unliquidated

ol Disputed

Type of NONPRIORITY unsecured clain’
o Student loans

(71 Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

oO Debts to pension O; profit-sharing plans. and other similar yebts

@ other. Specify Collection Account

Last 4 digits of account number $7,358.00

when was the debt incurred?

As Of the date you file, the claim is: Check all that apply

c Contingent

CO unliquidated

CC bisputed

Type of NONPRIORITY unsecured clain™
CC Student toans

ol Obligations arising out of a separation agreement or divorge that you did not
report as priority claims

 

 

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| No ci Debts to pension Oo; profit-sharing plan, and other similar yepts
C1 ves i other. Specify Collection Account
Credit One Bank Last 4 digits of account number $899.00
Nonpriority Greditor's Name ————
6801 S. Cimarron Road when was the debt Incurred?
Las Vegas, NV89113_ —_
Number Street City State Zip Code As of the date you file, the claim is: Check alt that apply
Who incurred the debt? Check one,
au Debtor 1 only oO Contingent
C1 Debtor 2 only C1 unliquidated
(J Debtor 1 and Debtor 2 only (I Disputed
D) At least one of the debtors and another Type of NONPRIORITY unsecured clalm:
C1 check if this clalm is for a community TI Student loans
debt J Obtigations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino C) pebts to pension or profit-sharing plans, and other similar debts
O yes I other. Specify Credit card purchases
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 3 of 8

Best Case Bankruptcy
Case 8:20-bk-08937-MGW Doc1 Filed 12/07/20 Page 22 of 42

Debtor! ROY D. MARSHALL

Ge |

Equity National Title
Nonpriority Creditors Name

31564 US Hwy 19N
Palm Harbor, FL 34684

 

Number Street City State Zip Code
Who Incurred the debt? Check one.

Wi pebtor 1 only

C Debtor 2 only

CZ Debtor 1 and Debtor 2 only

(1 At least one of the debtors and another

Cl check if this claim is for a community
debt

Is the claim subject to offset?

Case number (if known)

 

Last 4 digits of account number $26,000.00

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply

D1 Contingent

oO Unliquidated

D pisputed

Type of NONPRIORITY unsecured claim:
C1 student loans

oO Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Mino C1 debis to pension or profit-sharing plans, and other similar debts
C1 ves HB other. Specify

49 First Premier Bank Last 4 digits of account number $470.00
Nonpriority Creditor's Name
P.O. Box 5529 When was the debt incurred?
Sioux Falls, SD 57117-5529
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
I Debtor 4 only C1 Contingent
© Debtor 2 only OC uniiquidated
(J Debtor + and Debtor 2 only C1 Disputed
C1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
DO check if this claim is for a community C] student loans
debt 0 obligations arising out of a separation agreement or divorce that you did not
Is the clalm subject to offset? report as priority claims
Bno TZ pebts to pension or profit-sharing plans, and other similar debts
0 yes Hl other. Specify Credit card purchases

4.4 '

0 Macy's Last 4 digits of account number $591.00
Nonpriority Creditor's Name
680 Folsom Street When was the debt incurred?
San Francisco, CA 94107
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
Mi Debtor 1 only Ci Contingent
CT Debtor 2 only t] Unliquidated
D Debtor 1 and Debtor 2 only O Disputed
Datieast one of the debtors and another Type of NONPRIORITY unsecured clalm:
CD Check if this claim is for a community Ci student loans
debt 0 Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
HE No © pebts to pension or profit-sharing plans, and other similar debts
C1 Yes MM other. Specify Credit card purchases

Official Form £06 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 4 of 8

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Bast Case Bankruptcy
Case 8:20-bk-08937-MGW Doc1 Filed 12/07/20 Page 23 of 42

Debtor1 ROY D. MARSHALL

 

 

 

Case number (if known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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41 :
1 NCB Management Services Last 4 digits of account number $967.00
Nonpriority Creditor's Name
4 Allied Drive When was the debt incurred?
Feasterville Trevos, PA 19053
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
MM Debtor 1 only | Contingent
O pebtor 2 only C unliquidated
D1 Debtor 1 and Debtor 2 only (71 Disputed
0 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is for a community CI student loans
debt CZ obligations arising out of a separation agreement or divorce that you did not
is the claim subject to offset? report as priority claims
Bo 0 Debts to pension or profit-sharing plans, and other similar debts
Cl ves other. Specify Collection Account
44
2 Paramount Recovery System Last 4 digits of account number $936.00
Nonpriority Crediter’s Name
7521 Bosque Blvd. When was the debt incurred?
Suite L
Woodway, TX 76712
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
MM Debtor 1 only CO Contingent
D1 Debtor 2 only D unliquidated
C1 Debtor 1 and Debtor 2 only C1 disputed
© atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
CJ check if this claim is fora community LJ student loans
debt oO Obligations arising out of a separatian agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino C1 Debts to pension or profit-sharing plans, and other similar debts
C1 Yes WI other. Specify Collection Account
41
3 Paramount Recovery System Last 4 digits of account number $48.00
Nonpriority Creditor's Name
7521 Bosque Blvd. When was the debt incurred?
Suite L
Woodway, TX 76712
Number Street City State Zip Code As of the date you file, the claim is: Check ali that apply
Who incurred the debt? Check one.
WB bebtor 1 only O1 contingent
O Debtor 2 onty CZ untiquidated
C1 Debtor 1 and Debtor 2 only C) disputed
DO at least one of the debtors and another Type of NONPRIORITY unsecured claim:
Cl Check if this claim is for a. community 1 student toans
debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino CO petts to pension or profit-sharing plans, and other similar debts
CO Yes I other. Specify Collection Account
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 5 of 8

Best Case Bankruptcy

 
Case 8:20-bk-08937-MGW Doc1 Filed 12/07/20 Page 24 of 42

Debtor1 ROY D. MARSHALL

 

 

 

 

 

Case number {it known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

41 . . ‘ .
4 Phoenix Financial Services Last 4 digits of account number $1,630.00
Nonpriority Creditor's Name
P.O. Box 361450 When was the debt incurred?
Indianapolis, IN 46236
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
MM Debtor 1 only QO Contingent
C1 debtor 2 only D unliquidated
(1 Debtor 4 and Debtor 2 only 0 Disputed
0) At least one of the debtors and another Type of NONPRIORITY unsecured claim:
CO Check if this claim is for a community Ci student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bo ( Debts to pension or profit-sharing plans, and other similar debts
D ves other. Specify Collection Account
4.1 . :
5 Portfolio Recovery Associate Last 4 digits of account number $1,873.00
Nonpriority Creditor's Name
120 Corporate Bivd. When was the debt incurred?
Suite 100
Norfolk, VA 23502
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
a Debtor 1 only O Contingent
CO] Debtor 2 only C7 untiquidatea
CO Debtor 1 and Debtor 2 only Oo Disputed
C1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
Cl check if this claim is for a community C1 student loans
debt D Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
no C] Debts to pension or profit-sharing plans, and other similar debts
O ves MF other. Specify Collection Account
441
6 Safco Last 4 digits of account number $34,419.00
Nonpriority Creditor's Name
2901 WM Oakland Park Blvd. When was the debt incurred?
Suite A23
Fort Lauderdale, FL 33311
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
WH Debtor 1 only D1 contingent
C1 debtor 2 only | Unliquidated
C] Debtor 1 and Debtor 2 only C1 Disputed
CJ At least one of the debtors and another Type of NONPRIORITY unsecured claim:
CO check if this ciaim is fora community CJ student loans
debt CZ obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
HNo D vebts to pension or profit-sharing plans, and other similar debts
0 ves W other. Specify Installment Loan
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 6 of 8

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Best Case Bankruptcy
Case 8:20-bk-08937-MGW Doc1 Filed 12/07/20 Page 25 of 42

Debtor1 ROY D. MARSHALL

 

 

 

Case number (if known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

41
7 Santander Consumer USA Last 4 digits of account number $38,000.00
Nonpriority Creditor's Name
P.O. Box 660633 When was the debt incurred?
Dallas, TX 75266-0633
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
I debtor 4 only 0D Contingent
CZ Debtor 2 only CD unliquidated
C) Debtor 1 and Debtor 2 only CD pisputed
CZ Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
C Check if this claim is for a community C1 student toans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
No ebts ta pension or profit-sharing plans, and other similar debts
| O pebts t i fit-shari I ther similar deb!
Repossession of vehicle resulting in
44 ; :
8 Sonic Shield, LLC Last 4 digits of account number Unknown
Nonpriority Creditor’s Name
7921 Congress Street When was the debt incurred?
Port Richey, FL 34668
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
BB Debtor + only C1 Contingent
C1] Debtor 2 only Co Unliquidated
C1 Debtor 1 and Debtor 2 only CZ disputed
C1 at least one of the debtors and another Type of NONPRIORITY unsecured clalm:
C1 Check: if this claim is fora community C1 student loans
debt (C Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
no C] Debts to pension or profit-sharing plans, and other similar debts
O Yes I other. Specify
41 . .
9 Synerprise Consulting Svs In Last 4 digits of account number $2,380.00
Nonpriority Creditor's Name
5651 Broadmoor When was the debt incurred?
Mission, KS 66201
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
Mf Debtor 4 only C) Contingent
C1 Debtor 2 only D unliquidated
C debtor 4 and Debtor 2 only | Disputed
D1 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
CO check if this claim is for a community C Student loans
debt C] Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
HE No OD Debts to pension or profit-sharing plans, and other similar debts
O ves WI other. Specify Collection Account
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 7 of 8

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Case 8:20-bk-08937-MGW Doc1 Filed 12/07/20 Page 26 of 42

Debtor1 ROY D. MARSHALL

Case number (if known)

 

 

 

 

0 Synerprise Consulting Svs In

 

Nonpriority Creditors Name
5651 Broadmoor
Mission, KS 66201

 

Number Street City State Zip Code

Who incurred the debt? Check one.

BB debtor 1 only

( Debtor 2 onty

CO Debtor 4 and Debtor 2 only

[7 Atleast one of the debtors and another

C) Check if this claim is for a community
debt

Is the claim subject to offset?
Bi No
D ves

 

Last 4 digits of account number $2,976.00

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply

O Contingent
D0 unliquidated

Oo Disputed
Type of NONPRIORITY unsecured claim:

O student loans

oO Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

C1 Debts to pension or profit-sharing plans, and other similar debts

HH other. Specity Collection Account

 

 

EWE List Others to Be Notified About a Debt That You Already Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
notified for any debts in Parts 1 or 2, do not fill out or submit this page.

GEM HM Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each

type of unsecured claim.

 

 

 

 

 

 

 

 

Total Claim
6a. Domestic support obligations 6a. $ 0.00
Total
claims
from Part 1 6b. Taxes and certain other debts you owe the government 6b. $ 0.00
6c. Claims for death or personal injury while you were intoxicated 6c. $ 0.00
6d. Other. Add ail other priority unsecured claims. Write that amount here. 6d. $ 0.00
6e. Total Priority. Add lines 6a through 6d. 6e. $ 0.00
Total Claim
6f. Student loans 6f. $ 0.00
Total
claims
from Part 2 6g. Obligations arising out of a separation agreement or divorce that
you did not report as priority claims 8g. $ 0.00
6h. Debts to pension or profit-sharing plans, and other similar debts 6h. $ 0.00
6i. Other. Ad iori laims. Wri Gi.
i an rer id all other nonpriority unsecured claims. Write that arnount i 5 139,164.00
6]. Total Nonpriority. Add lines 6f through 6i. gj. $ 139,164.00
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 8 of &

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Best Case Bankruptcy
 

Case 8:20-bk-08937-MGW Doc1 Filed 12/07/20 Page 27 of 42

Fill in this information to identify your case:

Debtor 1 ROY D. MARSHALL

First Name Middle Name Last Name

 

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court forthe: © MIDDLE DISTRICT OF FLORIDA

 

Case number
(Gf known) () Check if this is an
amended filing

 

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12/15

Be as complete and accurate as possible. If two married pecple are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?
[J No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.

@ Yes, Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
and unexpired jeases.

Person or company with. whom you have the contract or lease State what the contract or lease is for
Name, Number, Street, City, State and ZIP Code

2.1 Christopher Schendel
10853 Boyette Road
Riverview, FL 33569

 

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases Page 1 of 1
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Case 8:20-bk-08937-MGW Doc1 Filed 12/07/20 Page 28 of 42

Fill in this information to identify your case:

Debtor 1 ROY D. MARSHALL

First Name Middie Name Last Name

 

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court forthe: MIDDLE DISTRICT OF FLORIDA

 

Case number
(if known) ( Check if this is an
amended filing

 

 

 

Official Form 106H
Schedule H: Your Codebtors 1245

 

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

Hino
O ves

2, Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

i No. Go to line 3.
O1 Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedute D, Schedule E/F, or Schedule G to filt
out Column 2.

 

 

 

 

 

 

Column 1: Your codebtor Column 2: The creditor to whom you owe the debt
Name, Number, Street, City, State and ZIP Code Check all schedules that apply:
3.1 D1 Schedule D, line
Name CZ Schedule E/F, line
CO Schedule G, line
Number Street
City State ZIP Code
3.2 | C Schedule D, line
Name CJ Schedule E/F, line
CI Schedule G, line
Number Street
City State ZIP Code
Official Form 106H Schedule H: Your Codebtors Page 1 of 1

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Case 8:20-bk-08937-MGW Doc1 Filed 12/07/20 Page 29 of 42

Fill in this information to identify your case:

 

Debtor 1 ROY D. MARSHALL

 

Debtor 2
(Spouse, if filing)

 

United States Bankruptcy Court for the: MIDDLE DISTRICT OF FLORIDA

 

Case number Check if this is:
{if known) 0 An amended filing

C1] Asuppliement showing postpetition chapter
13 income as of the following date:

Official Form 1061 WITDDIWWYY
Schedule I: Your Income 4215

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Describe Employment

1. Fillin your employment

 

 

 

information. Debtor 1 Debtor 2 or:non-filing spouse
if you have more than one job, Empl t stat @ Employed CO Employed
attach a separate page with mployment status
information about additional C1 Not employed C1 Not employed
employers. .
prey Occupation Sales Consultant
Include part-time, seasonal, or '
self-employed work. Employer's name Elements

 

Occupation may include student Employer's address
or homemaker, if it applies. 401 W. Ashley Street
Tampa, FL 33612

 

How long employed there? 3 years
Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. if you need
more space, attach a separate sheet to this form.

For Debtor 1- For Debtor 2 or
non-filing spouse

List monthly gross wages, salary, and commissions (before all payroll

 

 

 

2. deductions). If not paid monthly, calculate what the monthly wage would be. 2 «$ 10,833.33 $ NIA
3. Estimate and list monthly overtime pay. 3. +$ 0.00 8+ N/A
4. Calculate gross Income. Add line 2 + line 3. 4.1% 410,833.33 $ N/A

 

 

 

 

 

Official Form 1061 Schedule I: Your Income page 1

 
Debtor1 ROY D. MARSHALL Case number (if known}
For Debtor 1 For Debtor 2.or.
ce non-filing spouse
Copy line 4 here 4. § 10,833.33 $ NiA
5. List all payroll deductions:
5a. Tax, Medicare, and Social Security deductions 5a. $ 0.00 $ N/A
5b. Mandatory contributions for retirement plans 5b. $ 0.00 §$ N/A
5c. Voluntary contributions for retirement plans 5c. $ 0.00 «§$ N/A
5d. Required repayments of retirement fund loans 5d.  $ 0.00 $ N/A
5e. Insurance Se. §$ 0.00 § N/A
5f. Domestic support obligations 5f = $ 0.00 $ N/A
5g. Union dues 5g. $ 0.00 $ N/A
5h. Other deductions. Specify: 5h.+ $ 0.00 + $ N/A
6. Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h. 6. $ 0.00 $ N/A
Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. § 10,833.33 $ NIA
8. List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total
monthly net income. 8a. $ 0.00 8 6$ NIA
8b. Interest and dividends 8b. § 0.00 $ N/A
8c. Family support payments that you, a non-filing spouse, or a dependent
regularly receive
Include alimony, spousal support, child support, maintenance, divorce
settlement, and property settlement. &c. §$ 0.00 $ N/A
8d. Unemployment compensation ch 0.00 «$ N/A
8e. Social Security Be. $ 0.00 «$ N/A
8f. Other government assistance that you regularly receive
Include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies.
Specify: Bf. 6S 0.00 § N/A
8g. Pension or retirement income 8g. §$ 0.00 «$ NIA
8h. Other monthly income, Specify: 8h.t §$ 0.00 + $ NIA
9. Addall other income. Add lines 8at+8b+8c+8d+8e+8f+8g+8h. 9. 1% 0.00 $ N/A
10. Calculate monthly income. Add line 7 + line 9. 10. | $ 10,833.33 | +|$ N/A|=|3 10,833.33
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
other friends or relatives. .
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
Specify: 11. 4+$ 0.00
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
applies $ 10,833.33
Combined
monthly income
13. Do you expect an increase or decrease within the year after you file this form?
a No.
Cl Yes. Explain: |
Official Form 1061 Schedule I: Your Income page 2

Case 8:20-bk-08937-MGW Doc1 Filed 12/07/20 Page 30 of 42

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
Case 8:20-bk-08937-MGW Docl1

Fill in this information to identify your case:

Debtor 1 ROY D. MARSHALL

Debtor 2

Filed 12/07/20 Page 31 of 42

Check if this is:
( =An amended filing
[J] Asupplement showing postpetition chapter

 

(Spouse, if filing)

MIDDLE DISTRICT OF FLORIDA

13 expenses as of the following date:

 

MM/DD/YYYY

United States Bankruptcy Court for the:

 

Case number
(if known}

 

 

 

Official Form 106J
Schedule J: Your Expenses

 

12/5

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

GEER Describe Your Household

 

1. Is this a joint case?

Hl No. Go to line 2.
DC Yes. Does Debtor 2 live in a separate household?

ONo
C1 Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Doyouhave dependents? [No

Do not list Debtor 1 and
Debtor 2.

Fill out this information for
each dependent..............

Dependent’s relationship to Dependent’s
Debtor 1 or Debtor 2 age
TO

Does dependent
live with you?
reamed

1 No
O Yes
CONo
DF Yes
[No
Cl Yes
CI No
C] Yes

Yes.

Do not state the
dependents names.

 

 

 

 

3. Do your expenses include MNo
expenses of people other than Oo
yourself and your dependents? Yes

Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule i: Your income

(Official Form 1061.) Your expenses

4. The rental or home ownership expenses for your residence. Include first mortgage

 

 

 

 

payments and any rent for the ground or lot. 4. $ 2,700.00

If not Included in line 4:

4a. Real estate taxes 4a. $ 0.00

4b. Property, homeowner's, or renter’s insurance 4b. $ 0.00

4c. Home maintenance, repair, and upkeep expenses 4c. $ 300.00

4d. Homeowner's association or condominium dues 4d. $ 165.00
5. Additional mortgage payments for your residence, such as home equity loans 5. $ 0.00

 

Official Form 106J Schedule J: Your Expenses page 1
Case 8:20-bk-08937-MGW Doc1 Filed 12/07/20 Page 32 of 42

Debtor! ROY D. MARSHALL

 

 

 

 

 

 

Case number (if known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

6. Utilities:
6a. Electricity, heat, natural gas 6a. $ 225.00
6b. Water, sewer, garbage collection 6b. §$ 0.00
6c. Telephone, cell phone, Internet, satellite, and cable services 6c. $ 80.00
6d. Other. Specify: 6d. $ 0.00
7. Food and housekeeping supplies 7. $ 600.00
8. Childcare and children’s education costs 8. $ 0.00
9. Clothing, laundry, and dry cleaning 9. $ 175.00
10. Personal care products and services 10. $ 100.00
11. Medical and dental expenses 11. $ 650.00
12. Transportation. Include gas, maintenance, bus or train fare.
Do not include car payments. 12. $ 100.00
13. Entertainment, clubs, recreation, newspapers, magazines, and books 13. $ 50.00
14. Charitable contributions and religious donations 14. $ 0.00
15. Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20,
15a. Life insurance 15a. $ 135.00
15b. Health insurance 15b. $ 650.00
15c. Vehicle insurance 15c. § 475.00
15d. Other insurance. Specify: 15d. $ 0.00
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify: 16. $ 0.00
17. Installment or lease payments:
17a. Car payments for Vehicle 1 17a. $ 835.00
17b. Car payments for Vehicle 2 17b. §$ 0.00
17c. Other. Specify: 17c. $ 0.00
17d. Other. Specify: 17d. §$ 0.00
18. Your payments of alimony, maintenance, and support that you did not report as
deducted from your pay on line 5, Schedule |, Your Income (Official Form 106l). 18. $ 0.00
19. Other payments you make to support others who do not live with you. $ 0.00
Specify: 19.
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your income.
20a. Mortgages on other property 20a. $ 0.00
20b. Real estate taxes 20b. $ 0.00
20c. Property, homeowner's, of renter’s insurance 20c. § 0.00
20d. Maintenance, repair, and upkeep expenses 20d. $ 0.00
20e. Homeowner's association or condominium dues 20e. $ 0.00
2t. Other: Specify: Business Expense 21. +$ 300.00
22. Calculate your monthly expenses
22a. Add lines 4 through 21. $ 7,540.00
22b. Copy line 22 (monthly expenses for Debtor 2), if any, fram Official Form 106J-2 $
22c. Add line 22a and 22b. The result is your monthly expenses. $ 7,540.00
23. Calculate your monthly net income.
23a. Copy line 12 (your combined monthly income) from Schedule |. 23a. $ 10,833.33
23b. Copy your monthly expenses from line 22c above. 23b. -$ 7,540.00
23¢. Subtract your monthly expenses from your monthly income.
The result is your monthly net income. ¥ 23c. | $ 3,293.33
24. Do you expect an increase or decrease in your expenses within the year after you file this form?
For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
modification to the terms of your mortgage?
WF No.
Cl ves. | Explain here:
Official Form 106J Schedule J: Your Expenses page 2
Case 8:20-bk-08937-MGW Doc1 Filed 12/07/20 Page 33 of 42

Fill in this information to identify your case:

Debtor 1 ROY D. MARSHALL

First Name Middle Name Last Name

 

Debter 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court forthe: MIDDLE DISTRICT OF FLORIDA

 

Case number
(if known) 1 Check if this is an

amended filing

 

 

 

Official Form 106Dec
Declaration About an Individual Debtor's Schedules 42/18

If two married people are filing together, both are equally responsible for supplying correct information.
You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or

obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

(1) No

M Yes. Name ofperson Carlos Frontela Attach Bankruptcy Petition Preparer’s Notice,
Declaration, and Signature (Official Form 119)

 

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

ROYsD. MARSHALL Signature of Debtor 2
Signature of Debtor 1

 

Date December 7, 2020 Date

 

 

Official Form 106Dec Declaration About an Individual Debtor's Schedules

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eee vat [a alae ee 3 ‘Leos 4a i A 4
CV dsl™G . LOCUSTS TH TVIS VV LIU C O 0 Ce SOT

Fill in this informatior! to identify your case:

Debtor 1 ROY D. MARSHALL

First Name Middle Name Cast Name

Debta; 2 —__.. va nen
(Spouse if, filing) First Name Middle Narne Last Name

Uniteg States Bankruptcy Court for the: MIDDLE DISTRICT OF FLORIDA

Case number _—
(if known) — CO check if this is an

amended filing

 

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy 4/19

 

Be as complete and accurate as possible, If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form, On the top of any additional pages, write your name and case
number (if known). Answer every question.

Give Detailg About Your Marital Status and Where You Lived Before

1. What Is your current marital status?

& Married
C) Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

(1 No
HM Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

Debtor 1 Prior Address: Dates Debtor 1 Debtor 2 Prior Address: Dates Debtor 2
lived there lived there

8854 Cypress Hammock From-To: Ci same as Debtor 1 (1 same as Debtor 1

Tampa, FL 33614 01/01/2013 - From-Te:
12/23/2013

 

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, Caltfornia, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

M@ No
DO sYes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106).

EE Expiain the Sources of Your Income

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and alt businesses, including part-time activities.
If you are filing a joint case and you have income that you receive together, list it only once under Debtor t.
[ No
Yes. Fill in the details.

 

Debtor 1 Debtor 2
Sources of income Gross income Sources of income Gross income
Check all that apply. (before deductions and Check all that apply. (before deductions
exclusions) and exclusions}
From January 1 of current year until II wages, commissions, $75,000.00 [1 Wages, commissions,
the date you filed for bankruptcy: bonuses, tips bonuses, tips
(J Operating a business (1 Operating a business
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 1

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Case 8:20-bk-08937-MGW Doc1 Filed 12/07/20 Page 35 of 42

 

 

Debtor1 ROY D. MARSHALL Case number (it known)
Debtor 1 Debtor 2
Sources of income Gross income Sources of income Gross income
Check all that apply. (before deductions and Check all that apply. (before deductions
exclusions) and exclusions)

 

5. Did you receive any other income during this year or the two previous calendar years?
Include incorne regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
and other public benefit payments; pensions; rental income; interest: dividends; money collected from lawsuits; royalties; and gambling and lottery
winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

@ No

UC] Yes. Fill in the details.

Debtor 1 Debtor 2

Sources of income Gross income from Sources of income Gross income

Describe below. each source Describe below. (before deductions
(before deductions and and exclusions)
exclusions)

List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1’s or Debtor 2's debts primarily consumer debts?

 

 

O No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
individual primarily for a personal, family, or household purpose.”
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

Ono. Gotoline7.

O Yes List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

M Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

0 ne. Go to line 7.

@ Yes List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
attorney far this bankruptcy case.

Creditor's Name and Address Dates of payment Total amount Amount you Was this payment for...

paid still owe

Santander Consumer USA $2,000.00 $38,821.00 1 Mortgage

P.O. Box 660633 Mca

Dallas, TX 75266-0633 C credit Card
0 Loan Repayment
C) Suppliers or vendors
CT Other__

Capital One Bank $300.00 $4,149.91 (1) Mortgage

P.O. Box 30281 O car

Salt Lake City, UT 84130 @ credit Card
C] Loan Repayment
ED) Suppliers or vendors
C] Other__

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 2

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Case 8:20-bk-08937-MGW Doc1 Filed 12/07/20 Page 36 of 42

Debtor1 ROY D. MARSHALL Case number (it known)

 

Within 1 year befere you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for

a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
alimony.

M No

C1 Yes. List all payments to an insider.

Insider's Name and Address Dates of payment Total amount Amount you Reason for this payment
paid still owe

Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
insider?

Include payments on debts guaranteed or cosigned by an insider.

H No

[1 Yes. List all payments to an insider

Insider's Name and Address Dates of payment Total amount Amount you Reason for this payment
pald still owe Include creditor's name

identify Legal Actions, Repossessions, and Foreclosures

 

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
modifications, and contract disputes.
B No
Cl Yes. Fill in the details.
Case title Nature of the case Court or agency Status of the case
Case number
10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and fill in the details below.
No. Go to tine 11.
@ Yes. Fill in the information below.
Creditor Name and Address Describe the Property Date Value of the
property
Explain what happened
Santander Consumer USA 2017 Cadillac Escalade 10/18/2020 $45,000.00
P.O. Box 660633
Dallas, TX 75266-0633 ll Property was repossessed.
C1 Property was foreclosed.
C) Property was garnished.
CZ Property was attached, seized or levied.
41. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?
@ No
OD Yes. Fill in the details.
Creditor Name and Address Describe the action the creditor tock Date action was Amount
taken
12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
court-appointed receiver, a custodian, or another official?
M No
{] Yes
Official Form 107 Statement of Financial Affairs for individuais Filing for Bankruptcy page 3

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Case 8:20-bk-08937-MGW Doc1 Filed 12/07/20 Page 37 of 42

Debtort ROY D. MARSHALL Case number (if known)

 

List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
M No

O Yes. Fill in the details for each gift.

Gifts with a total value of more than $600

Describe the gifts
per person

Dates you gave Value
the gifts

Person to Whom You Gave the Gift and

Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
M@ No

C] Yes. Fill in the details for each gift or contribution.

Gifts or contributions to charities that total Describe what you contributed Dates you Value
more than $600

contributed
Charity's Name
Address (Number, Street, City, State and ZIP Code}

List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
or gambling?

@ No
Cl Yes. Fill in the details.

Describe the property you lost and

Describe any insurance coverage for the loss Date of your Value of property
how the loss occurred

Include the amount that insurance has paid. List pending [08S lost
insurance claims on line 33 of Schedule A/B: Property.

List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
consulted about seeking bankruptcy or preparing a bankruptcy petition?

Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.
O No
MH Yes. Fill in the details.

Person Who Was Paid Date payment Amount of
Address or transfer was payment
Email or website address made

Person Who Made the Payment, if Not You

Document Preparation Services, LLC 12/04/2020 $415.92
4107 N. Himes Avenue

Suite 201

Tampa, FL 33607

Description and value of any property
transferred

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

B No
(Yes. Fill in the details.
Person Who Was Paid Description and value of any property Date payment Amount of
Address transferred or transfer was payment
made

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy

page 4
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Case 8:20-bk-08937-MGW Doc1 Filed 12/07/20 Page 38 of 42

Debtor? ROY D. MARSHALL Case number (if known)

 

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
include gifts and transfers that you have already listed on this statement.

M No

Cl) Yes. Fill in the details.

Person Who Received Transfer Description and value of Describe any property or Date transfer was
Address property transferred payments received or debts made

paid in exchange
Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
beneficiary? (These are often called asset-protection devices.)

BH No
Yes. Fill in the details.
Name of trust Description and value of the property transferred Date Transfer was

made

List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
sold, moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
houses, pension funds, cooperatives, associations, and other financial institutions.

M No
0 ‘Yes. Fill in the details.
Name of Financial Institution and Last 4 digits of Type of account or Date account was Last balance
Address (Number, Street, City, State and ZIP account number instrument closed, sold, before closing or
Code) moved, or transfer
transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
cash, or other valuables?

H No
C] Yes. Fill in the details.

Name of Financial Institution Who else had access to it? Describe the contents Do you still
Address (Number, Street, City, State and ZIP Code) Address (Number, Street, City, have it?

State and ZIP Code}

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

H No
0 Yes. Fill in the details.
Name of Storage Facility Who else has or had access Describe the contents Do you still
Address (Number, Street, City, State and ZIP Code} to it? have it?
Address (Number, Street, City,
State and ZIP Code)

Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust

for someone.

BM No

O Yes. Fill in the details.

Owner's Name Where is the property? Describe the property Value
Address (Number, Street, City, State and ZIP Gode) (Number, Street, City, State and ZIP

Code)
Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

MH Environmentai Jaw means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 5

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Case 8:20-bk-08937-MGW Doc1 Filed 12/07/20 Page 39 of 42

Debtor? ROY D. MARSHALL Case number (if known)

 

toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
regulations controlling the cleanup of these substances, wastes, or material.

Ml Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
to own, operate, or utilize it, including disposal sites.

Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
hazardous material, pollutant, contaminant, or similar term.

Report ail notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

H No
Yes. Fill in the details.

Name of site Governmental unit Environmental law, if you Date of notice
Address (Number, Street, City, State and ZIP Code} Address (Number, Street, City, State and know it

ZIP Gode)

25. Have you notified any governmental unit of any release of hazardous material?

HM No

1 Yes. Fill in the details.
Name of site Governmental unit Environmental law, if you Date of notice
Address (Number, Street, City, State and ZIP Code) Address (Number, Street, City, State and know it

ZIP Code}

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

HB No
O Yes. Fill in the details.
Case Title Court or agency Nature of the case Status of the
Case Number Name case
Address (Number, Street, City,
State and ZIP Code)

GGEIKEEME Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
(1 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
C] A member of a limited liabitity company (LLC) or limited liability partnership (LLP)
OA partner in a partnership
D An officer, director, or managing executive of a corporation
An owner of at least 5% of the voting or equity securities of a corporation
Mi No. None of the above applies. Go to Part 12.
[1 Yes. Check all that apply above and fill in the details below for each business.

Business Name Describe the nature of the business Employer Identification number
Address Do not include Social Security number or ITIN.
iNumber, Street, City, State and ZIP Code) Name of accountant or bookkeeper

Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include ail financial
institutions, creditors, or other parties.

@ No
Cl Yes. Fill in the details below.

Name Date Issued
Address
{Number, Street, City, State and ZIP Code)

GENSE Sign Below

{ have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the answers
Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 6

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Case 8:20-bk-08937-MGW Doc1 Filed 12/07/20 Page 40 of 42

Debtor1 ROY D. MARSHALL Case number (if known)

 

are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

wv

 

ROY-D. MARSHALL Signature of Debtor 2
Signature of Debtor 1
Date December 7, 2020 Date

 

 

Did you attach additional pages to Your Statement of Financial Affairs for individuals Filing for Bankruptcy (Official Form 107)?
Bi No
C Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

ONo
W@ Yes. Name of Person _Carlos Frontela__. Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 118).

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 7

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Case 8:20-bk-08937-MGW Doc1 Filed 12/07/20 Page 41 of 42

United States Bankruptcy Court
Middle District of Florida

Inre _ ROY D. MARSHALL Case No.
Debtor(s) Chapter 13

 

 

 

VERIFICATION OF CREDITOR MATRIX

The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.

Date: December 7, 2020 oo Meee

ROD. MARSHALL
Signature of Debtor

 

 

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Case 8:20-bk-08937-MGW Doc1_ Filed 12/07/20

ROY D. MARSHALL
1109 Terra Mar Dr.
Tampa, FL 33613

ARS Account Resolution
1643 NW 136th Avenue

Suite 100

Fort Lauderdale, FL 33323

CCS Collections
725 Canton Street
Norwood, MA 02062

CCS Collections
725 Canton Street
Norwood, MA 02062

Choice Recovery
P.O. Box 20790
Columbus, OH 43220

Christopher Schendel
10853 Boyette Road
Riverview, FL. 33569

Commonwealth Financial
245 Main Street
Scranton, PA 18519

Commonwealth Financial
245 Main Street
Scranton, PA 18519

Credit One Bank
6801 S. Cimarron Road
Las Vegas, NV 89113

Equity National Title
31564 US Hwy 19N
Palm Harbor, FL 34684

First Premier Bank
P.O. Box 5529
Sioux Falls, SD 57117-5529

Macy's
680 Folsom Street
San Francisco, CA 94107

NCB Management Services
1 Allied Drive
Feasterville Trevos, PA 19053

Paramount Recovery System
7521 Bosque Blvd.

Suite L

Woodway, TX 76712

Paramount Recovery System
7521 Bosque Blvd.

Suite L

Woodway, TX 76712

Phoenix Financial Services
P.O. Box 361450
Indianapolis, IN 46236

Portfolio Recovery Associate
120 Corporate Blvd.

Suite 100

Norfolk, VA 23502

Safco

2901 WM Oakland Park Blvd.
Suite A23

Fort Lauderdale, FL 33311

Page 42 of 42

Santander Consumer USA
P.O. Box 660633
Dallas, TX 75266-0633

Sonic Shield, LLC
7921 Congress Street
Port Richey, FL 34668

Synerprise Consulting Svs In
5651 Broadmoor
Mission, KS 66201

Synerprise Consulting Svs In
5651 Broadmoor
Mission, KS 66201
